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                             UNITED STATES DISTRICT COURT                                   -
                             SOUTHERN DISTRICT OF GEORGIA
                                                                                       200 MAR 20 AND 2
                                  WAYCROSS DIVISION

UNITED STATES OF AMERICA                                                    CLERK
                                                         )      SUPERCEDING
                                                                                                          GA.
                                                         )      INDICTMENT NO. CR5091!
V.


JESUS NERI a.k.a. "Andres Aleman,"
et at.

                  DISMISSAL WITHOUT PREJUDICE OF DEFENDANTS
                      CAROLINA BAZA and FELIPE HERNANDEZ

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of Court
endorsed hereon, the United States Attorney for the Southern District of Georgia hereby dismisses
WITHOUT PREJUDICE defendants CAROLINA BAZA and FELIPE HERNANDEZ from this
Indictment. The government shows that these defendants have been determined to have had limited
involvement in the above criminal charges, and have fully cooperated. Defendant BAZA will be
deported, and defendant HERNANDEZ has agreed to plead guilty to an Information.

         Based upon that, further proceedings against them in this matter would not be in the interests
of justice.
                                                        Respectfully submitted,
                                                        EDMUND A. BOOTH, JR.
                                                        UNITED STATES ATTORNEY

                                                         /&/ Vaflrir,i,L _C. 1%LC4LLLGr1LgIL
100 Bull Street                                          Darrin L. McCullough
Savannah, GA 31401                                       Assistant United States Attorney
(912) 652-4422


                                       LEAVE OF COURT

       Leave of Court is GRANTED for the filing of the foregoing dismissal without prejudice of
defendants Carolina Baza and Felipe Hernandez from this Indictment.

               SO ORDERED, this                 day of                    --, 2007.



                                               William T. Moore, Jr.
                                               Chief Judge, United States District Court
                                               Southern District of Georgia
